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                               UNITED STATES DISTRICT COURT

                           NORTHERN DISTRICT OF CALIFORNIA


   IN RE: ROUNDUP PRODUCTS                         MDL No. 2741
   LIABILITY LITIGATION
                                                   Case No. 16-md-02741-VC


   This document relates to:                       PRETRIAL ORDER NO. 222:
                                                   REQUESTING ADDITIONAL
   ALL CASES                                       INFORMATION ON PENDING MDL
                                                   MOTIONS



       The Court requires additional information to address the pending MDL motions.

Accordingly:

   •   The parties are directed to submit by email the list of pending MDL motions (Docket No.

       12058-2) in Excel format.

   •   Monsanto is directed to file a letter summarizing its various pending motions to dismiss.

       That letter should identify which issues are raised by each motion; the Court’s various

       rulings that relate to and/or address those issues; and whether any of its motions raise
       new issues.

The list of pending motions must be submitted within 7 days of this order. Monsanto must file its

letter within 14 days of this order.



       IT IS SO ORDERED.

Dated: December 9, 2020
                                             ______________________________________
                                             VINCE CHHABRIA
                                             United States District Judge
